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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

 BRANDON CALLIER,                             §
                                              §
      Plaintiff,                              §
                                              §
 v.                                           §       CAUSE NO. EP-21-CV-213-KC
                                              §
 THE DESIGN LAZA, INC.; and ALI               §
 KHAN,                                        §
                                              §
      Defendants.                             §

                                            ORDER

       On this day, the Court sua sponte considered the above-captioned case. On April 28,

2022, the Clerk entered default against The Design Laza, Inc., ECF No. 18, the sole remaining

Defendant in this case, see ECF No. 12. That Defendant has not moved to set aside default, nor

made any other filings in this case.

       Accordingly, Plaintiff is hereby ORDERED to MOVE for default judgment on or before

June 24, 2022.

       SO ORDERED.

       SIGNED this 10th day of June, 2022.




                                       KATHLEEN CARDONE
                                       UNITED STATES DISTRICT JUDGE
